Case 2:04-cr-20434-SH|\/| Document 53 Filed 05/24/05 Page 1 of 2 Page|D 59

IN THE UNITED STATES DISTRICT COURT [.:H_ED .L.F. ¢ w
FOR THE WESTERN DISTRICT OF TENNESSEE d ` 5" ':}'{"'

wEsTERN DIVISION USH»’§`! ?_Li PM 3: 09

 

 

UNITED STATES OF AMERICA,
VS. NO. 04-20434-Ma
ARTURO MUNOZ,

Defendant

 

ORDER GRANTING MOTION TO EXTEND EVALUATION DEADL[NE

 

On February l , 2005, the court entered an order for mental health evaluation of the defendant
Defendant was transported to the F ederal l\/ledical Center at Lexington, Kentucky, The clinical staff
has requested additional time to complete the examination of the defendant For good cause shown,
the request is granted and the Federal Medical Center at Lexington, Kentucky, shall have until June
13, 2005, to complete the mental health evaluation of the defendant

Trial of this matter is continued to the rotation docket beginning July 15, 2005 at 9:30 a.m.
with a report date of Friday, June 24, 2005, at 2:00 p.m. The continuance is necessary to allow the
defendant to be examined as to his mental competency.

The period from June 17, 2005, through July 15, 2005, is excluded under 18 U.S.C. §
3161(h)(l)(A) to allow defendant to undergo a mental evaluation

it is so oRDERED this ?-B‘lday ofMay, 2005.

SAMUEL H, MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thls document entered on the docket sheet tn compliance
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This notice confirms a copy of the document docketed as number 53 in
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Honorable Samuel Mays
US DISTRICT COURT

